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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF VIRGINIA
                              Norfolk Division



 UNITED STATES OF AMERICA,


 V.                                                 Criminal No. 2:17crl26


 DARYL G. BANK,


             Defendant




                             MEMORANDUM OPINION


        This matter is before the Court on Defendant's Motions for

 Issuance of Subpoenas Duces Tecum Ex Parte, EOF Nos. 161, 162, and

 on the Government's Motion to Quash Subpoenas, ECF No. 164.                   For

 the reasons stated below, the Defendant's motions for issuance of

 subpoenas are DENIED and the Government's motion to quash is

 DISSMISSED AS MOOT.


                                   I. Background

        Defendant Daryl G. Bank ("Defendant") has been charged with

 mail   fraud,   wire    fraud,     securities     fraud,    unlawful   sale   of

 unregistered securities, securities fraud, and conspiracy to

 commit those offenses, as well as conspiracy to launder monetary

 instruments     and    engaging    in   unlawful    monetary     transactions.

 Second Superseding Indictment, ECF No. 105.                These charges arise

 from allegations that Defendant and others executed a scheme to

 defraud numerous individuals by creating, promoting, and selling

 fraudulent investment opportunities.            Id. at 3-4.     At least some
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